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              Case: 16-16923 Date Filed: 05/04/2018 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                          May 04, 2018

Elizabeth Warren
U.S. District Court
401 W CENTRAL BLVD
ORLANDO, FL 32801

Appeal Number: 16-16923-GG
Case Style: Darrell Patterson v. Walgreen Co.
District Court Docket No: 6:14-cv-02108-GKS-GJK

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                      MDT-1 Letter Issuing Mandate
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              Case: 16-16923 Date Filed: 05/04/2018 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                                For the Eleventh Circuit
                                    ______________

                                          No. 16-16923
                                         ______________

                                    District Court Docket No.
                                    6:14-cv-02108-GKS-GJK

DARRELL PATTERSON,

                                                   Plaintiff - Appellant,

versus

WALGREEN CO.,

                                             Defendant - Appellee.
                       __________________________________________

                       Appeal from the United States District Court for the
                                   Middle District of Florida
                       __________________________________________

                                           JUDGMENT

It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
entered as the judgment of this Court.

                                   Entered: March 09, 2018
                        For the Court: DAVID J. SMITH, Clerk of Court
                                        By: Jeff R. Patch




ISSUED AS MANDATE 05/04/2018
